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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

EMPLOYERS INSURANCE COMPANY
OF WAUSAU,

           Plaintiff,

v.                                 Case No:   2:18-cv-601-FtM-99MRM

REDLANDS CHRISTIAN      MIGRANT
ASSOCIATION, INC.,

           Defendant.


                          ORDER TO SHOW CAUSE

     This matter comes before the Court on review of the file.          On

November 8, 2018, defendant filed a Motion for a More Definite

Statement, Motion to Strike and Counterclaim (Doc. #9) against in

response   to   and   against   plaintiff.    The   docket   reflects   no

response to the motions 1, or an answer or motion in response to

the Counterclaim 2.

     Accordingly, it is now

     ORDERED:




     1 See M.D. Fla. R. 3.01(b) (“Each party opposing a motion or
application shall file within fourteen (14) days after service of
the motion or application a response that includes a memorandum of
legal authority in opposition to the request. . . .”).
     2 See Fed. R. Civ. P. 12(a)(1)(B) (“A party must serve an
answer to a counterclaim or crossclaim within 21 days after being
served with the pleading that states the counterclaim or
crossclaim.”)
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     1. Plaintiff    Employers   Insurance   Company    of   Wausau    shall

        respond to the motions within SEVEN (7) DAYS of this Order.

        If no response is filed, the Court will rule without

        further notice.

     2. Plaintiff shall also show cause within SEVEN (7) DAYS of

        this Order why a default as to the Counterclaim should not

        be entered.     The failure to respond to the Order to Show

        Cause, or to respond to the Counterclaim will result in

        the entry of a default without further notice.

     DONE and ORDERED at Fort Myers, Florida, this           3rd      day of

December, 2018.




Copies:
Counsel of record




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